
20 Mich. App. 309 (1969)
174 N.W.2d 24
PEOPLE
v.
McMILLER
Docket No. 7,621.
Michigan Court of Appeals.
Decided November 26, 1969.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, Bruce A. Barton, Prosecuting Attorney, and Paul R. Adams, Chief Appellate Attorney, for the people.
Bruce A. Clark, for defendant on appeal.
Before: LEVIN, P.J., and T.M. BURNS and DANHOF, JJ.
PER CURIAM.
On November 6, 1968, the defendant was charged with the crime of murder and on January 13, 1969, while represented by counsel, he *310 pleaded guilty to the lesser included offense of manslaughter, CL 1948, § 750.321 (Stat Ann 1954 Rev § 28.553). Following an examination of the defendant, the trial court accepted the plea of guilty. On January 28, 1969, defendant was sentenced to a term of 10 to 15 years in prison.
On appeal defendant's only question is whether the trial judge sufficiently inquired into the truth of defendant's plea of guilty so as to warrant the acceptance of the plea.
The people have confessed error herein.
The record of the lengthy examination of the defendant relative to his plea shows that his responses do not satisfy legal requirements. MCLA § 768.35 (Stat Ann 1954 Rev § 28.1058); GCR 1963, 785.3.
The plea of guilty by the defendant of the offense of manslaughter is hereby vacated.
Reversed and remanded.
